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5    Attorney for Defendant
     FERNANDO MADRIGAL
6
                         UNITED STATES DISTRICT COURT
7                       EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA          )
9                                      )         No. Cr.S-10-162 JAM
                     Plaintiff         )
10                                     )
               vs.                     )         STIPULATION CONTINUING
11
                                       )         SENTENCING
12
     FERNANDO MADRIGAL,                )
                                       )               ORDER
13                   Defendant         )
                                       )
14

15
          IT IS HEREBY stipulated between the United States of
16
     America through its undersigned counsel, together with counsel
17
     for defendant MADRIGAL in the above referenced matter that the
18

19
     sentencing now set for October 15, 2013, be continued to

20   December 17, 2013, at 9:45 AM. In addition, the disclosure of

21   the PSR and briefing schedule shall be modified as follows:

22        1.   Judgment and Sentencing Date: 12/17/13

23        2.   Reply or Statement of Non-Opposition: 12/10/13

24        Motion for Correction of the Presentence Report shall             be
25        filed with the Court and served on the Probation             Officer



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1            and opposing counsel no later than: 12/3/13
2            3.   The Presentence Report shall be filed with the Court
3
             and disclosed to counsel no later than: 11/26/13
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             4.   Counsel’s written objections to the Presentence Report
5
             shall be delivered to the Probation Officer and opposing
6
             counsel no later than: 11/19/13
7
             5.   The proposed Presentence Report shall be disclosed to
8
             counsel no later than: 11/5/13
9
             This request for a continuance of the sentencing date is
10
     necessary because defendant is housed in Butte County making
11

12
     coordinating and scheduling meetings with the defendant and an

13   interpreter prior to meeting with probation difficult. In

14   addition, coordinating scheduling of meetings with probation is

15   somewhat problematic due to conflicting schedules between the

16   undersigned and probation officer.
17           Counsel for the parties agree that this is an appropriate
18
     exclusion of time within the meaning of Title 18, United States
19
     Code§ 3161(h)(8)(B)(iv) (continuity of counsel/reasonable time
20
     for effective preparation) and Local Code T4, and agree to
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     exclude time from the date of the filing of the order until the
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     / / /
23
     / / /
24

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2    date of new the sentencing date of, December 17, 2013.
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     Respectfully submitted,
6
                                 BENJAMIN B. WAGNER
7                                UNITED STATES ATTORNEY

8
     DATED: 9/24/2013            /s/ MICHAEL MCCOY
9                                Michael McCoy
                                 Assistant United States Attorney
10

11
     DATED: 9/24/20113           /s/ MICHAEL B. BIGELOW
12
                                 Michael B. Bigelow
                                 Attorney for Fernando Madrigal
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1

2                                      ORDER
3
          IT IS ORDERED THAT: Pursuant to stipulation by the parties,
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     the Schedule for disclosure of the PSR and attendant responses
5
     shall be modified as set forth above and sentencing in the above
6
     referenced matter, presently set for October 15, 2013, is
7
     rescheduled for at December 17, 2013 at 9:45 AM. It is also
8
     agreed by the parties that time should be excluded for
9
     continuity of counsel and reasonable time for effective
10
     preparation and complexity within the meaning of the Speedy
11

12
     Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local

13   Codes T2 and T4, from the date of the filing of the order until

14   the date of new the sentencing December 17, 2013.

15        The Court also finds that the ends of justice are served by
16   granting the requested continuance and outweigh the best
17
     interest in the public and the defendants in a speedy trial.
18

19
     IT IS SO ORDERED
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21   DATED: September 24, 2013                /s/ John A. Mendez__________
                                              Hon. John A. Mendez,
22                                            Judge, U.S. District Court
                                              Eastern District, California
23

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